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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION                        ^0.

 UNITED STATES OF AMERICA


 V.                                          INFORMATION NO.


                                             21 U.S.C. §§ 331(a) and 333(a)(1)
 MATTHEW RYNCARZ                             Misbranded Drugs
 and
 FUSION HEALTH AND
 VITALITY,LLC,
 D/B/A PHARM ORIGINS,                           CR420 075
       DEFENDANTS




THE UNITED STATES ATTORNEY CHARGES THAT:


                                    Introduction


At all times material to this Information:


       1.    From around March 2020, and continuing until on or about April 8,

2020, the exact dates being unknown,in the midst of the COVID-19 global pandemic,

Defendants Matthew Ryncarz and Fusion Health and Vitality, LLC d/b/a/ Pharm

Origins (Pharm Origins), did introduce and cause to be introduced, and did deliver

for introduction and cause to be delivered for introduction into interstate commerce,

a misbranded drug, that is, "Immune Shot," by selling and distributing this

misbranded drug to consumers in the Southern District of Georgia and outside the

state of Georgia.
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                                    BACKGROUND


                THE FEDERAL FOOD. DRUG.AND COSMETIC ACT


      2.       The United States Food and Drug Adniinistration(FDA)was the federal

agency responsible for protecting the health and safety of the American public by

ensuring, among other things, that drugs are safe and effective for their intended

uses and bore labeling that contained true and accurate information. The FDA's
                                                                  i


responsibilities included regulating the manufacture and distribution of drugs

shipped or received in interstate commerce, as well as the labeling ofsuch drugs. The

FDA carried out its responsibdities by enforcing the Federal Food, Drug, and

Cosmetic Act (FDCA), 21 U.S.C. § 301, et seq., and other pertinent laws and

regulations.

      3.       Under the FDCA,a"drug" was defined as, among other things, an article

"intended for use in the diagnosis, cin:e, mitigation, treatment, or prevention of

disease in man." 21 U.S.C. § 321(g)(1).

      4.       The "intended use" of an article meant the objective intent ofthe persons

legally responsible for the labeling ofthat article. The intent was determined by such

persons' expressions or could be shown by the circumstances surrounding the

distribution of the article. This objective intent might, for example, be shown by

labehng claims, advertising matter, or oral or written statements by such persons or

their representatives. It also might be shown by the circumstances that the article

is, with the knowledge of such persons or their representatives^ offered and used for

a purpose for which it was neither labeled nor advertised. 21 C.F.R § 201.128.
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      5.     "Labeling" included the label (the written display on the immediate

container of the drug), and also any other written, printed, or graphic matter upon

the drug or any of its containers or wrappers, or accompanying such drug as part of

an integrated distribution scheme. 21 U.S.C. §§ 321(k), 321(m). Labehng can include

written statements on a website through which a drug can be ordered by a consumer.

      6.     Under the FDCA, a drug was misbranded if its labeling was false or

misleading in any particular. 21 U.S.C. § 352(a)(1).


                                    COUNT ONE
                                 Mishranded Drugs
                            21 U.S.C. §§ 331(a) and 333(a)(1)

      7.     The allegations of paragraph 1 of this Information are hereby realleged

and incorporated as if fully set forth herein.

      8.     From around March 2020, and continuing until on or about April 8,

2020, the exact dates being unknown,the Defendants, Matthew Ryncarz and Fusion

Health and Vitahty, LLC, d/b/a/ Pharm Origins (Pharm Origins), did introduce and

deliver for introduction, and did cause to be introduced and deHvered for introduction

into interstate commerce, a drug, that is, "Immune Shot," that was misbranded,

within the meaning of 21 U.S.C. § 352(a)(1), in that it bore false and misleading

labeling, by selling and distributing this misbranded drug to consumers in the

Southern District of Georgia and outside the state of Georgia.

      9.     In order to sell Immune Shot, Defendants created the website domain

http://www.immune-shot.com/boost-vour-immunitv (the "Website") to sell Immune

Shot for $19. Defendants claimed that Immune Shot was a Vitamin D product that
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included a dose of "highly concentrated cholecalciferol." Ampng other false and

misleading statements, the Website labeling:

      a. Included a "DISCLAIMER" that stated: "What You Are About to Read is

          the DIRECT Opinion of One Our Top Medical Minds. He Beheves He Can

          Beat Coronavirus, Read to See if You Agree[.]"

      b. Claimed Immune Shot would lower its consumer's risks from COVID-19 by

          nearly 50%. Specifically, the Website represented that "YOU will learn in

          JUST MINUTES...how to LOWER your risk of COVID 19 by nearly 50%."

      c. Targeted individuals, ages 50 and older, with heavy-handed sales pitches,

         including statements such as "The NEXT FIVE MINUTES could save your

          life,""We are offering you the exclusive price of only $19 per bottle because

          we know that Immune Shot could be the most important formula in the

          WORLD right now due to the new pandemic," "THIS could be a way to

         survive," "Immune Shot is Not a Luxury, It is a Necessity Right Now,"

         "Point Blank, If YOU Leave, YOU are at Risk," and "Is Your Life Worth

         $19? Seriously, Is It?"

      10.    Defendants also sent, and caused to be sent, an email to individuals

titled "Urgent Notice," in which Defendants claimed that Pharni Origins' product was

"a powerful way for you and your family to bring the fight for CJOVID 19."

      All in violation of Title 21, United States Code, Sections 331(a) and 333(a)(1).




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